                                                                                   Motion GRANTED.




                IN THE UNITED STATES DISTRICT COURT FOR THE
              MIDDLE DISTRICT OF TENNESSEE, NASHVILLE DIVISION

JOHN DOE #1 (JDR),

        Plaintiff,

        vs.
                                                              Case No. 3:23-cv-0651
WILLIAM B. LEE, Governor of the State
of Tennessee, and DAVID B. RAUSCH,
Director of the Tennessee Bureau of
Investigation, in their official capacities,

        Defendants.

              PLAINTIFFS’ MOTION TO PROCEED UNDER PSEUDONYM
                          AND FOR PROTECTIVE ORDER


        Plaintiffs hereby move the Court for permission to proceed in this action under the pseu-

donyms “John Doe” and to enter a protective order barring the disclosure of Plaintiffs’ true name

or other information that identifies Plaintiff or Plaintiff’s family members, directly or indirectly,

and requiring that any documents containing such information be redacted or filed under seal.

        In support of this motion, Plaintiffs relies upon Plaintiffs’ supporting memorandum and

the entire record in this case and states:

        1. Courts “may excuse plaintiffs from identifying themselves in certain circumstances”

where “a plaintiff’s privacy interests substantially outweigh the presumption of open judicial

proceedings.” Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004).

        2. Fed. R. Civ. Proc. 26(c) authorizes the Court to “make any order which justice re-

quires to protect the party or person from annoyance, embarrassment, oppression, or undue bur-

den or expense” upon motion of a party.




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